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                    .ITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA




   ESTATE OF BETTY GOLDBERG,               EDCV 14-1872 DSF (AFMx)
   et al.,
           Plaintiffs,                     Order GRANTING IN PART and
                                           DENYING IN PART Intervenors’
                     v.                    and Certain Defendants’ Motion
                                           for Summary Judgment; Order
   GOSS-JEWETT COMPANY, INC.,              GRANTING IN PART and
   et al.,                                 DENYING IN PART Third Party
           Defendants.                     Defendant 220 W. Gutierrez,
                                           LLC’s Motion for Summary
                                           Judgment (Dkt. No. 713, 723)

   AND RELATED CROSS ACTIONS
   AND THIRD PARTY ACTIONS




      Certain intervening insurance companies (Intervenors) and
   Individual Defendants 1 move for summary judgment in this long-
   standing environmental case along with Third Party Defendant and
   current owner of the afflicted property, 220 W. Gutierrez, LLC (220



   1 The Court will generally refer to the Estate Defendants and the remaining
   living individual Defendants collectively as the Individual Defendants except
   where the distinction is relevant. The Court will also generally refer to the
   Intervenors and the Individual Defendants collectively as Defendants for
   convenience. The Court will also sometimes refer to the Estate of Betty
   Goldberg and 220 W. Gutierrez, LLC collectively as Plaintiffs for convenience
   when their arguments are aligned.
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   LLC). The Court deems this matter appropriate for decision without
   oral argument. See Fed. R. Civ. P. 78; Local Rule 7-15.

                       I. Background and Basic Facts

      In the interest of brevity, the Court will not recount a complete
   factual and procedural history of this case or of the property located at
   220 W. Gutierrez Street in Santa Barbara, California (the Property). 2
   The main outline of the facts can be quickly recounted with details
   expanded on as they are relevant to the analysis.

      The Property was long used as the location for a dry cleaning supply
   distribution business. One of the chemicals sold from the Property was
   perchloroethylene (PCE). The soil and groundwater under the Property
   and under some neighboring properties is now heavily contaminated
   with PCE. Plaintiff Estate of Betty Goldberg is the estate of a former
   owner of the Property. In the 1960s, Betty Goldberg, along with her
   husband, Al Goldberg, operated a dry cleaning supply business on the
   Property under the name “Tri-County Sales” and later incorporated as
   Tri-County Sales, Inc. In 1968, they sold the business but retained
   ownership of the underlying real property. Tri-County was soon sold to
   Defendant Donald George who sold his interest to his brother Terrence
   George in 1974.

      After Terrence George died in 1979, Tri-County was sold to a larger
   dry cleaning supply company, Goss-Jewett Company, Inc. Tri-County
   continued to operate at the Property as a separate legal entity until
   1983 when it was merged into Goss-Jewett. Defendants Benjamin
   Fohrman (deceased) and Darold Merritt were directors of Tri-County
   during the time it was owned by Goss-Jewett. Defendant Robert W.
   Schack (deceased) was president, a director, and a shareholder of Goss-
   Jewett in the relevant period. In 1990, Defendant Arthur Arns bought


   2The Court uses 220 LLC’s definitions of the “Property” as the particular real
   estate parcel at 220 W. Gutierrez Street and the “Site” as the broader area of
   contamination on and around the Property. See 220 LLC Am. Crossclaim
   (Dkt. No. 660) ¶ 2.



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   a majority interest in Goss-Jewett and became its president. In 1991,
   Goss-Jewett ceased operations at the Property and by 1992 was
   effectively out of business entirely, with its assets sold for the benefit of
   its creditors. The entire company was formally suspended by the State
   of California in 2001 its last agent for service of process resigned in
   2009.

      The business at the Property originally distributed PCE largely in
   closed 55-gallon drums, although there is evidence that PCE was
   occasionally moved from the drums to smaller containers for small
   purchasers. In March 1969, Tri-County had a large above ground PCE
   storage tank installed on the Property. 3 The tank was filled with PCE
   from large tanker trucks that parked on the public street adjacent to
   the Property. PCE was then later put into small tanks on trucks for
   distribution to Tri-County or Goss-Jewett’s customers. Eventually a
   second tank was added to the Property sometime in the 1970s. The
   tanks remained on the Property until they were removed by Goss-
   Jewett on its closing of its location at the Property in 1991.

      220 LLC is the current owner of the real property that encompasses
   the Property. As part of its acquisition of the Property from the Estate
   of Betty Goldberg, 220 LLC entered into a Prospective Purchaser
   Agreement (PPA) with the California Department of Toxic Substances
   Control (DTSC). The PPA requires 220 LLC to undertake certain
   specified remediation efforts at the Site. In exchange, the PPA
   provides that DTSC will not take further action against 220 LLC and
   that other entities are barred from seeking contribution from 220 LLC
   relating to the contamination at the Site. Otherwise, 220 LLC paid no
   money for the property.

      The procedural history of this litigation is long and cumbersome,
   but, as relevant here, Plaintiff sued Goss-Jewett and a number of
   individuals associated with Goss-Jewett or Tri-County or their estates.
   Various insurers intervened in the case (Intervenors) to defend their

   3 There is a separate dispute - not directly relevant here - about who
   technically owned the tanks.



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   interests as potential payors of various policies issued to Tri-County
   and Goss-Jewett in the period between 1978 and 1986. The
   Intervenors and Individual Defendants now move for summary
   judgment on several issues. 220 LLC also moves for summary
   judgment regarding liability of the Defendants and asserts that it is
   protected by various statutory bars, including a contribution bar
   pursuant to the DTSC settlement.

                             II. Legal Standard

       “A party may move for summary judgment, identifying each claim or
   defense – or the part of each claim or defense – on which summary
   judgment is sought. The court shall grant summary judgment if the
   movant shows there is no genuine dispute as to any material fact and
   the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.
   56(a). “This burden is not a light one.” In re Oracle Corp. Sec. Litig.,
   627 F.3d 376, 387 (9th Cir. 2010). But the moving party need not
   disprove the opposing party’s case. Celotex Corp. v. Catrett, 477 U.S.
   317, 323 (1986). Rather, if the moving party satisfies this burden, the
   party opposing the motion must set forth specific facts, through
   affidavits or admissible discovery materials, showing that there exists a
   genuine issue for trial. Id. at 323-24; Fed. R. Civ. P. 56(c)(1). A non-
   moving party who bears the burden of proof at trial as to an element
   essential to its case must make a showing sufficient to establish a
   genuine dispute of fact with respect to the existence of that element of
   the case or be subject to summary judgment. See Celotex Corp., 477
   U.S. at 322.

      The “mere existence of some alleged factual dispute between the
   parties will not defeat an otherwise properly supported motion for
   summary judgment; the requirement is that there be no genuine issue
   of material fact.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48
   (1986). An issue of fact is a genuine issue if it reasonably can be
   resolved in favor of either party. Id. at 250-51. “The mere existence of
   a scintilla of evidence in support of the [non-movant’s] position will be
   insufficient; there must be evidence on which the jury . . . could find by
   a preponderance of the evidence that the [non-movant] is entitled to a


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   verdict . . . .” Id. at 252. “Only disputes over facts that might affect the
   outcome of the suit under the governing law will properly preclude the
   entry of summary judgment.” Id. at 248.

       “[A] district court is not entitled to weigh the evidence and resolve
   disputed underlying factual issues.” Chevron Corp. v. Pennzoil Co., 974
   F.2d 1156, 1161 (9th Cir. 1992). Summary judgment is improper
   ‘where divergent ultimate inferences may reasonably be drawn from
   the undisputed facts.’” Fresno Motors v. Mercedes Benz USA, LLC, 771
   F.3d 1119, 1125 (9th Cir. 2014). Instead, “the inferences to be drawn
   from the underlying facts must be viewed in the light most favorable to
   the party opposing the motion.” Matsushita Elec. Indus. Co. v. Zenith
   Radio Corp., 475 U.S. 574, 587-88 (1986) (internal quotation marks and
   ellipsis omitted).

          III. Intervenors’ and Individual Defendants’ Motion

   A.    There is No Evidence to Support Direct Liability Claims
         Against the Individual Defendants

      The Court previously ruled in favor of Individual Defendant Arthur
   Arns regarding Arns’s liability as an “operator” of a facility on the
   Property. Based on an analysis and application of United States v.
   Bestfoods, 524 U.S. 51 (1998), the Court stated that “Arns can be liable
   as an operator only if (1) the corporate veil can be pierced or (2) if he
   personally took part in the operation of the facility on the Property.”
   June 4, 2019 Arns S.J. Order (Dkt. 573) at 6.

      The same analysis applies here with respect to the remaining
   Individual Defendants, and the evidence of their individual liability is
   no stronger than it was for Arns. Plaintiffs and 220 LLC wish to
   impose liability on directors, officers, and shareholders solely because
   they theoretically had the ability to control all aspects of Goss-Jewett or
   Tri-County’s operations, including their operations with respect to PCE
   at the Property. But, as stated in the Arns order, the logic of Bestfoods
   indicates that a CERCLA “operator” has to actively participate in, and
   directly exercise control over, the operations of the facility itself, not
   just the company more generally even if a high-ranking officer


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   theoretically has the authority to take control over all aspect of the
   company, including the ones related to pollution.

      As with Arns, the evidence of the other Individual Defendants’
   “operation” of the facility at the Property is that they occasionally
   visited, had some general level of control over business operations, and
   theoretically could have changed the procedures for handling PCE at
   the Property. There is no evidence that any of the Individual
   Defendants controlled the day-to-day operations at the Property or
   would have been even remotely directly involved with any PCE releases
   at the Property.

      The strongest evidence of individual involvement, such that it is, is
   against Carol George, Terrence George’s widow who briefly controlled
   Tri-County as Executor of Terrence George’s estate, and Darold Merritt
   of Goss-Jewett. But this evidence is only that Carol George tried to get
   an understanding of how the business operated, see, e.g., Stone Opp.
   Decl. Ex. 12 (Hanacek Decl.) at 137:13-22, and Merritt did a ride-along
   with a problem Tri-County employee in the attempt to bring him up to
   the work standards of Goss-Jewett, see Stone Opp. Decl. Ex. 13 at 67-
   68. Notably, that ride-along does not appear to have specifically
   involved any PCE handling concerns and seems to have been about the
   driver’s time management issues. Merritt was involved in integrating
   Tri-County into Goss-Jewett and visited Santa Barbara on a weekly
   basis. In fact, Merritt testified that he spent two or three days a week
   in Santa Barbara for the first three years Goss-Jewett owned the
   facility. Johnson Decl. Ex. I at 34:12-22. But there was also a separate
   facility manager in Santa Barbara who was responsible for the day-to-
   day operation of the facility. Id. at 32-33. Even if Merritt were
   physically present more often than the other Individual Defendants,
   there is still no evidence that he “operated” the facility.

      With regard to the state law claims, Plaintiffs and 220 LLC correctly
   note that corporate officers and directors can be held liable for their
   own torts even if those torts occur in the course of corporate duties.
   But, as discussed above, the problem is that there is no evidence that




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   any of the Individual Defendants ever personally committed any of the
   torts at issue.

   B.    There is No Evidence to Support Alter Ego Liability
         Against the Individual Defendants

      The Court denied Arthur Arns’s motion for summary judgment with
   respect to the alter ego allegations because there was some evidence
   that Arns had not maintained separation of his personal dealings from
   the company’s. No such evidence exists with respect to the moving
   Individual Defendants. 4

      The only concrete evidence at all cited to show that any of the
   moving Defendants failed to respect corporate formalities is that
   Donald George signed an assignment of the lease on the Property in
   1968 apparently in his own name and not in the name of Tri-County
   Sales. This piece of evidence is close to meaningless because there is
   nothing in the record to establish that George did not actually lease the
   Property himself and sublease it to Tri-County. 5 And even if that was
   not the structure of the relationship, a single incident of sloppy lease
   documentation over the course of years of business is not sufficient to
   support an alter ego finding. Otherwise, the evidence cited is that Tri-
   County was a small family owned enterprise where the same people
   were owners, directors, and officers. There is nothing uncommon about
   this arrangement and it is not the same as not observing corporate
   formalities. There is no alter ego evidence offered at all against the
   Goss-Jewett affiliated Individual Defendants, and all available




   4 Plaintiff and 220 LLC repeatedly state that Tri-County or Goss-Jewett “did
   not follow corporate formalities” while a particular Individual Defendant was
   in charge, but they provide no citation for this assertion and a review of their
   Separate Statement of Material Facts and supporting evidence shows that
   they have no evidence to support the assertion.
   5As, for example, 220 LLC currently owns the Property and leases it to
   Paladin Law Group while maintaining at least some principals in common.


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   evidence shows that it was a reasonably sophisticated medium-sized
   private corporation where the corporate form was respected. 6

   C.    The RCRA Claims Against Goss-Jewett and the Estate
         Defendants Fail for Lack of Statutory Notice

       A prerequisite for a RCRA claim is that prelitigation notice be given
   to the prospective defendants. 42 U.S.C. § 6972(b)(2)(A). Defendants
   claim that no notice was given by 220 LLC. The Court agrees.

       None of the Estate Defendants have personal representatives. 220
   LLC purports to have given notice by sending notice to the alleged
   next-of-kin of the deceased individuals. But someone who is merely
   purported to be next-of-kin to a deceased person is not the
   representative of that person’s estate under California law unless
   appointed by a probate court. See Cal. Prob. Code § 8400(a) (“A person
   has no power to administer the estate until the person is appointed
   personal representative and the appointment becomes effective.”);
   § 9600 (“The personal representative has the management and control
   of the estate . . . .”); § 9820 (personal representative has power to
   “[d]efend actions and proceedings against the decedent, the personal
   representative, or the estate.”). Simply serving whoever seems to be
   closest to a proper person to be served is not providing legal notice and
   not knowing what else to do is not an excuse or justification that would
   allow 220 LLC to evade the notice requirement.

      The situation with Goss-Jewett is similar. Goss-Jewett is
   technically a suspended California corporation, but it has been
   suspended since 2001 and is, as a practical matter, defunct. There are
   no current officers or directors. The former agent for service of process
   resigned that position in 2009. Facing this, 220 LLC proceeded to serve
   an attorney for the Intervenors and Darold Merritt, who hasn’t been


   6The purported Goss-Jewett alter-ego evidence is simply corporate officers
   doing corporate officer things like signing leases on behalf of the corporation
   and driving company cars. None of this is evidence of a failure to respect the
   corporate form.



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   associated with Goss-Jewett for almost 30 years. Neither of them are
   representatives of Goss-Jewett and service of notice on them is not
   notice to Goss-Jewett. 220 LLC again pleads that this is all they knew
   to do, but, again, that does not excuse the failure to provide the
   statutorily required notice.

      RCRA provides for injunctive relief only, not monetary damages.
   The Court is sympathetic to the argument that deceased individuals
   and suspended corporations cannot generally under California law be
   mandated to act by court injunction because they lack the legal
   capacity to act. However, the Court need not reach this issue because
   the required RCRA notice was not given. 7

   D.    Defendants Have Not Established That 220 LLC’s
         Contribution Claims Are Barred by the Statute of
         Limitations

      Defendants argue that 220 LLC’s CERCLA and HSAA contribution
   claims are barred by the relevant statutes of limitations. They fail to
   meet their burden for several reasons.

      It is unclear when a CERCLA claim for contribution accrues when a
   responsible party reaches an administrative settlement with a state
   agency. 42 U.S.C. § 9613(g)(3) sets a specific accrual point for judicially
   approved settlements and certain federal administrative settlements
   under 42 U.S.C. §§ 9622(g) and 9622(h) but is silent with respect to
   state administrative settlements like the one 220 LLC reached with the
   DTSC. Defendants assume § 9613(g)(3) applies with equal force to this
   kind of state administrative settlement, but they provide no reason why
   the Court should write terms into what is a fairly specific statutory
   provision that explicitly lists certain kinds of settlements and not
   others.


   7This also reduces any purported “absurdity” of the Court’s ruling as to
   notice. If a proper representative of a suspended corporation or an estate
   cannot even be found so that notice can be served, it is difficult to understand
   how the corporation or estate could be compelled to act.



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      Defendants rely on a Ninth Circuit statement that “[w]hen a person
   resolves its liability to the United States or a State through an
   administrative or judicially approved settlement, a right to assert a
   contribution claim against other PRPs also accrues.” See ASARCO,
   LLC v. Celanese Chem. Co., 792 F.3d 1203, 1210 (9th Cir. 2015).
   ASARCO does include that quote, but ASARCO was not about a state
   administrative settlement, making a broad interpretation dicta. In
   addition, the ASARCO quote is accurate in the sense that judicially
   approved settlements with a state (or the United States) trigger accrual
   and that certain federal administrative settlements also trigger
   accrual. Given that, it is not completely clear that the ASARCO panel
   even intended to suggest that all administrative settlements caused a
   contribution claim to accrue or just the ones specified in § 9613(g)(3).
   But, as noted, such a claim would have been dicta, and there is nothing
   to suggest that the Ninth Circuit intended to resolve this potentially
   complicated matter of statutory interpretation.

      In the absence of specific statutory guidance, a contribution cause of
   action could conceivably accrue when the settlement is entered, when
   the settlement becomes final, when the settling party actually expends
   recoverable costs, when the settling party finishes the cleanup efforts,
   or possibly some other relevant point. Defendants make no attempt to
   argue for their chosen accrual time beyond pointing to an inapplicable
   statute.

      In addition, even if § 9613(g)(3) applied to the CERCLA contribution
   claim, Defendants make no effort to establish the appropriate accrual
   time for the HSAA claim beyond noting that the HSAA is normally
   construed consistent with CERCLA. That general point may be true
   for many matters, but it is not evidently true for statute of limitations
   issues, especially where the limitations period is related to a settlement
   with a California state agency.




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                    IV. 220 W. Gutierrez, LLC’s Motion

   A.    Summary Judgment is Inappropriate on 220 LLC’s
         CERCLA, HSAA, Nuisance, and Trespass Claims Because
         Disputed Material Questions of Fact Exist Regarding
         Goss-Jewett’s Responsibility for Releases at the Property

       220 LLC points out that the Court had previously stated that “there
   is no bona fide dispute that some release happened for which Goss-
   Jewett is responsible.” Dkt. No. 659 at 6. At the time, the Court
   thought that was the case based on the record before it, but it turns out
   that the record is less definitive than the Court had perceived.

       No one disputes that there is massive PCE contamination under and
   emanating from the Property. Geological experts from both sides
   largely seem to agree that the locus of the pollution is at or around the
   former location of the above ground storage tanks used to store PCE
   during the operation of Tri-County and Goss-Jewett. Occam’s razor
   certainly suggests that the entities that stored massive amounts of
   PCE for decades in large tanks above the epicenter of significant PCE
   ground and water contamination are probably the ones responsible for
   it. However, this kind of deductive reasoning based on circumstantial
   evidence is not sufficient to allow the Court to enter summary
   judgment against Goss-Jewett, even if only on bare liability. 8

       220 LLC seeks contribution from the various Defendants under
   CERCLA and the HSAA. CERCLA provides that “[a]ny person may
   seek contribution from any other person who is liable or potentially
   liable under section 9607(a) of this title, during or following any civil
   action under section 9606 of this title or under section 9607(a) of this
   title.” 42 U.S.C. § 9613(f).

         To establish a prima facie case under § 9607(a), the
         plaintiff must show that (1) the property at issue is a

   8220 LLC acknowledges that specific allocation of responsibility is not
   available through its motion and only seeks a ruling that Goss-Jewett is
   responsible for some release at the Property.



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         “facility” as defined in 42 U.S.C. § 9601(9); (2) a “release” or
         “threatened release” of a “hazardous substance” has
         occurred; (3) the “release” or “threatened release” has
         caused the plaintiff to incur response costs that were
         “necessary” and “consistent with the national contingency
         plan”; and (4) the defendants are in one of four classes of
         persons subject to liability under § 9607(a).

   Carson Harbor Vill. v. Cty. of Los Angeles, 433 F.3d 1260, 1265 (9th
   Cir. 2006). The HSAA serves the same or similar purposes as
   CERCLA, adopts many of the same components as CERCLA, and is
   generally interpreted consistent with CERCLA.

      Some of these factors are effectively undisputed, at least for the
   purposes of these motions. There is no question that PCE is a
   “hazardous substance” or that Tri-County and Goss-Jewett would
   qualify as “operators” of the “PCE distribution facility,” as defined in
   220 LLC’s amended crossclaim. 9 The dispute is whether a “release”
   occurred from the “PCE distribution facility” “operated” by Tri-County
   or Goss-Jewett at the Property that has caused 220 LLC to incur
   response costs.

      Perhaps surprisingly, there is no direct evidence of a release of PCE
   by Tri-County or Goss-Jewett on the Property. Without sufficient
   evidence of a release, summary judgment cannot be granted on any of
   220 LLC’s claims, statutory or common law. The evidence presented to
   the Court shows several basic possibilities for releases during the Tri-
   County and Goss-Jewett occupation of the Property.

      220 LLC repeatedly raises innuendo about the condition of the above
   ground tanks and the concrete slab underneath the tanks. But there is

   9The “PCE distribution facility” is defined as “[t]he premises, ASTs, hoses,
   nozzles, pipes, pipelines, equipment, and installations that Cross-defendants
   operated at the Property.” Dkt. No. 660 ¶ 92. Each of the various cross-
   defendants is alleged to be liable due to being “an owner and/or operator of
   the PCE distribution facility during times when PCE was disposed of at
   and/or from that facility and to the Property and the Site.” Id. ¶ 95.



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   no actual evidence that either tank ever leaked PCE. The evidence
   only shows that the tanks were rusty in appearance, the concrete slab
   was somewhat sunken from the weight of the tanks, and that there was
   some cracking and staining on the slab. The Court has not seen any
   evidence that these conditions definitively prove that the tanks were
   leaking. 220 LLC incorrectly states that the California Regional Water
   Quality Control Board Abatement Order found that the above ground
   tanks were leaking, see 220 LLC RJN, Ex. 4, but even if that were the
   finding, it would obviously be hearsay if offered to prove that the tanks
   did, in fact, leak and cause the contamination. Further, Plaintiffs’ and
   220 LLC’s geological experts take the position that due to the depth
   and size of the contamination, it must have been caused by relatively
   large, sudden releases of PCE which discounts the possibility of slow
   leaks from the tanks over time. 10

      Multiple witnesses have acknowledged that small quantities – i.e.,
   drops – of PCE would escape from hoses or containers during the
   transfer of PCE. However, those witnesses also appear unanimous in
   stating that quantities this small of PCE would evaporate almost
   instantly into the air and did not reach or remain in the soil. The
   various geological experts also appear to agree that these kinds of tiny
   releases would not have persisted in the ground and could not have
   been the source of the contamination that caused 220 LLC to incur
   response costs.

      There is one witness report of an incident where a tank being filled
   with PCE that was sitting in the back of a truck overflowed. But that
   witness also clearly stated that the PCE was almost entirely contained
   in the truck, very little PCE actually reached the ground, and that the

   10The Court, of course, isn’t foreclosing the possibility that the tanks leaked
   and were a cause of the contamination. Even a slow, unnoticed leak from a
   very large tank over a period of years could possibly cause significant
   contamination. The Court has been given close to no context for how large
   the releases would have to have been to have caused the contamination or
   how large of a leak from the tanks could have persisted without being noticed
   and repaired.



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   people involved, including the witness himself, took immediate action
   to soak up what small amount of PCE might have reached the ground
   so that it did not remain in the environment. See Stone Decl. Ex. 22
   (Anderson Depo. Tr.) at 62-66; 202-19.

      There is evidence that in addition to the above ground tank area, a
   “secondary” release area exists in the former warehouse area. 220 LLC
   concludes that this means that PCE was spilt during transfer between
   containers in the warehouse during either Tri-County or Goss-Jewett
   operations. But again, there is no direct evidence of releases there and
   a possible release can only be inferred based on circumstantial
   evidence. At summary judgment, inferences are made in favor of the
   non-moving party, not the moving one.

      The best documented releases of PCE related to the Site were by
   common carrier drivers after delivering PCE to the Property. On at
   least some occasions, these drivers released residual PCE from the
   hoses used for delivery into the public sewer drain in the street.
   However, these were neither released by Tri-County or Goss-Jewett
   employees nor were they actually released on the Property or other
   property controlled by Tri-County or Goss-Jewett. 11 Defendants’
   position is that these releases can account for the entirety of the
   observed PCE contamination at the Site – other than perhaps for cross-
   contamination from alleged releases at a nearby Caltrans property.

      This is the state of the evidence as the Court can best perceive it
   based on what has been provided in the summary judgment motions.
   As noted, logic and circumstantial evidence suggest that there were
   releases by Goss-Jewett or Tri-County at the Property and, after a trial,


   11 220 LLC glosses over the problem that the hose releases were not
   indisputably at the “facility” “operated” by Tri-County or Goss-Jewett that it
   has alleged and that neither Tri-County nor Goss-Jewett indisputably
   “controlled” the hoses such that they would qualify as part of the relevant
   “facility” as defined by 220 LLC. The Court also overlooked this wrinkle in
   its November 18, 2019 order that placed responsibility for the hose releases
   on Tri-County.



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   the Court may find that there were releases by Goss-Jewett or Tri-
   County (or both). But when ruling on a summary judgment motion the
   Court is obligated to make inferences in favor of the non-moving party,
   not in favor of the moving party no matter how sensible those
   inferences might seem. 12 220 LLC seems to misperceive its burden as
   showing that there is substantial evidence that a release occurred.
   There undoubtably is substantial evidence that a release occurred at a
   facility operated by Tri-County or Goss-Jewett, but the standard is
   whether it is undisputed that one occurred and that is not the case.

   B.    The Contribution Claims Against 220 LLC Are Barred by
         the Statutory Contribution Bar Defense

      It is undisputed that 220 LLC entered into an administrative
   settlement with the DTSC. CERCLA provides that “[a]person who has
   resolved its liability to the United States or a State in an
   administrative or judicially approved settlement shall not be liable for
   claims for contribution regarding matters addressed in the settlement.”
   42 U.S.C. § 9613(f)(2).

      This would normally provide a person in 220 LLC’s position a
   defense from contribution actions. However, the Intervenors and
   Individual Defendants argue that the § 9613(f)(2) contribution bar
   should not apply in this case because 220 LLC and the DTSC provided
   insufficient notice of the settlement.

      There is no dispute that notice of the settlement was posted in the
   California Regulatory Notice Register on January 9, 2015. That notice
   clearly stated that a settlement was being entered into between 220

   12 It might be possible to grant summary judgment based on purely
   circumstantial evidence. However, in a situation such as this one, where after
   a review of the evidence the Court does not have a firm and completely
   confident impression of what occurred, it is clear that summary judgment
   should be denied. See also So. Cal. Gas Co. v. City of Santa Ana, 336 F.3d
   885, 888 (9th Cir. 2003) (party with burden of proof must establish “beyond
   controversy every essential element” of its claim in order to be granted
   summary judgment).



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   LLC and the DTSC regarding the Property. Defendants argue that this
   notice was insufficient because they were not given direct, actual notice
   at the time despite being known potentially responsible parties and
   because the published notice did not note that 220 LLC was seeking a
   contribution bar.

      Defendants’ arguments are unpersuasive. The published notice
   pointed any reader to the text of the settlement – available on the
   DTSC website – that was free to view and plainly discussed a
   contribution bar. But even if that were not sufficient, by operation of
   the CERCLA statute settlement with a state administrative agency
   implies the imposition of a contribution bar. Defendants fail to cite any
   authority to suggest that the operation of this statutory contribution
   bar needed to be explicitly noted in the published notice.

      The failure to provide direct, actual notice to known potentially
   responsible parties is somewhat problematic but ultimately does not
   defeat 220 LLC’s statutory immunity. First, there is no explicit
   statutory requirement that direct notice be given. Arguably, DTSC
   policy required actual notice of the settlement to be provided to known
   potentially responsible parties, but Defendants fail to cite any
   authority that a failure to follow state administrative policy destroys
   the contribution protection provided by CERCLA. Second, there is no
   question that at least the Intervenors were aware of the settlement, if
   not at the time it was entered, then certainly before it became final and
   operative. In fact, they petitioned DTSC to reevaluate the settlement
   based on comments they provided in a letter on July 8, 2016. See Stone
   Decl., (Dkt. 725), Ex. 35. 13



   13The Court also notes that the Intervenors’ present assertion that they
   required actual direct notice is, at the very least, in tension with their
   implicit position that there is no means to provide direct notice to Goss-
   Jewett or the Estate Defendants because they have no representatives. It is
   also in tension with their assertion in their July 8, 2016 letter to the DTSC
   that “Goss-Jewett’s Officers and Insurance Carriers Are Not Potentially
   Responsible Parties.”



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                                 V. Conclusion

      The moving Individual Defendants’ motion for summary judgment is
   GRANTED. Intervenors’ motion for summary judgment is GRANTED
   with respect to the RCRA claim and DENIED in all other respects. 220
   LLC’s motion is GRANTED with respect to its contribution bar defense
   and DENIED in all other respects. 14

        IT IS SO ORDERED.



   Date: July 14, 2020                   ___________________________
                                         Dale S. Fischer
                                         United States District Judge




   14 Given the manner in which the motions were resolved, the Court did not
   need to reach a number of issues that were raised such as 220 LLC’s other
   affirmative defenses. The Court does not express an opinion on these other
   issues. The Court also did not need to reach the vast majority of the
   evidentiary objections that were raised because the objected-to evidence was
   not material to the resolution of the motions. Many of the objections are to
   lawyer characterizations of documentary evidence. The Court has, of course,
   reviewed the actual documents, not the lawyers’ descriptions of them.



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